                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


 In re:                                                        Chapter I 1

 M & G USA CORPORATION,et al.,l                                Case No. 17- 12307(BLS)
                   Debtors.                                    (Jointly Administered)


                                     DEBTORS'FIRST OMNIBUS
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           AMENDED AND SUPERSEDED CLAIMS AND (II) DUPLICATE CLAIMS

  ANY PARTY RECEIVING THIS OMNIBUS OBJECTION TO CLAIIYIS SHOULD
 LOCATE THEIR NAlYIES AND THEIR CLAIMS)IN THE ATTACHED ~XI3IBITS.
 YOUR SUBSTANTIVE RIGHTS MAY BE AFFECTED 13Y THIS OBJECTION AND
BY ANY FURTHER OBJECTION THAT MAY BE FILED AGAINST YOUR CLAIMS)


          The above-captioned debtors and debtors-in-possession (collectively, the "Debtors")

hereby object(the "Objection"), pursuant to sections 105 and 502(b) of title 11 of the United

States Code (the "Banlcruptcv Code"), Rule 3007 of the Federal Rules of Bankruptcy Procedure

(the "Bankruptcy Rules") and Rule 3007-1 of the Local Rules ofPractice and Procedure for this

Court(the "Local Rules"), and seek the entry of an order, in substantially the form attached

hereto as Exhibit A (the "Proposed Order"), disallowing and expunging (i) certain amended and

superseded claims, identified in Exhibit 1 to the Proposed Order (the "Amended Claims") and

(ii) certain duplicate claims, identified in Exhibit 2 to the Proposed Order (the "Duplicate

Claims"). In support of this Objection, the Debtors submit the Declaration ofDennis Stogsdzll in


          ~       The Debtors are the following twelve entities (the last four digits of their respective taxpayer
identification numbers follow in parentheses): M & G USA Corporation (3449), M & G Resins USA,LLC(3236),
M & G Polymers USA,LLC(7593), M & G Finance Corporation (4230), M&G Waters USA,LLC(2195), Mossi &
Ghisolfi International S.a r.L (1270), M&G Chemicals S.A.(N/A), M&G Capital S.a r.l. (7812), M & G USA
Holding, LLC(3451), Chemtex International Inc.(7695), Chemtex Par East, Ltd.(2062) and Indo American
Investments, Inc.(9208). The Debtors' noticing address in these chapter i l cases is 450 Gears Road, Suite 240,
Houston, Texas 77067.



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SuppoNt ofthe Debtors'First Omnibus Objection to Clazms (the "Stogsdill Declaration"),

attached hereto as Exhibit B, and respectfully represent as follows:

                                   JURISDICTION AND VENUE

        1.         This Court has jurisdiction to consider this matter pursuant to 28 U.S.C. §§ 157

and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue for this matter is

proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409.

                                           BACKGI~OiTliTi1

        A.         General Background

        2.         On October 24, 2017(the "Polymers Petition Date"), Debtor M&G Polymers

USA,LLC("M&G Polders")filed a voluntary petition for relief under chapter 11 ofthe

Bankruptcy Code and, thereafter, on October 30, 2017 (the "Petition Date"), each of the other

Debtors commenced chapter 11 cases before this Court(together with the chapter 11 case of

M&G Polymers, the "Cases"). The Debtors are continuing in possession of their properties and

are managing their businesses, as debtors in possession, pursuant to sections 1107(a) and 1108 of

the Bankruptcy Code.

        3.         An Official Committee of Unsecured Creditors (the "Committee") was appointed

in these Cases on November 13, 2017(Docket No. 146). Additional information regarding the

Debtors and these Cases, including the Debtors' businesses, corporate structure and financial

condition, is set forth in the Declaration ofDennis Stogsdzll in Support ofFirst Day Pleadings

(Docket No. 3)(the "First DayDeclaration"), filed on October 31, 2017 and incorporated herein

by refet•ence.

        4.         On September 5, 2018, all of the Debtors other than Mossi & Ghisolfi

Intertlational S.a r.l., M&G Chemicals S.A. and M&G Capital S.a r.l. filed the Joznt Flan of

Liquidation ofthe U.S. Debtors and DebtoNs in Possession (Docket No. 1812)(as it may be

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modified, amended or supplemented, the "Plan") and related Disclosure StatementfoN Joint Plan

ofLiquidation ofthe U.S. Debtors and Debtors in Possession (Docket No. 1813).

        B.         The Schedules and the Bar Date

        5.         On January 22 and 23, 2018, the Debtors filed their respective Schedules of

Assets and Liabilities and Statement of Financial Affairs (see Docket Nos. 734-760)

(collectively, the "Schedules"). The Debtors subsequently amended the Schedules on

3anuary 25, 2018 (see Docket Nos. 778; 780-790) a~1d, o~~ August 15; 2018, Debtor Chemtex

International Inc. amended its Schedule E/F (see Docket No. 1764).

        6.         On February 27, 2018, the Court entered the OrdeN (I) Establishing Bar Datesfor

Filing Clazn~s and (II) AppNoving the Form and Manner ofNotice TheNeof(Docket No. 1053)

(the "Bar Date Ot~der"). Among other things, the Bar Date Order established (i) April 5, 2018 as

the deadline by which any person or entity holding a claim against the Debtors that arose or was

deemed to have arisen prior to the Polymers Petition Date in the case of claims against

M&G Polymers, or the Petition Date in the case of claims against all other Debtors, was required

to ale a proof of claim in these Cases (the "General Bar Date");(ii) April 30, 2018 as the

deadline by which any government unit(as such term is defined in section 101(27) of the

Bankruptcy Code) holding a claim against the Debtors that arose or was deemed to have arisen

prior to the Polymer Petition Date or' the Petition Date, as applicable, was required to file a proof

of claim in these Cases; and (iii) May 9, 2018 as the deadline by which union members, retirees,

employees or former employees were required to file any claim arising under any collective

bargaining agreement between the United Steel, Paper and rorestry, Rubber, Manufacturing,




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Energy Allied Industrial and Service Workers International Union and the Debtors, including

any claim related to medical or other healthcare benefits.

        7.         The Debtors' claims register reflects that as ofthe date hereof, approximately

976 proofs of claim have been filed, which the Debtors and their advisors are in the process of

reviewing and reconciling.

                                           RELIEF REQUESTED

        8.         The Debtors reques9 entry of an order, pursuant to sections 105(x} and 502(b) of

the Bankruptcy Code, Bankruptcy Rule 3007 and Local Rule 3007-1, in substantially the form of

the Proposed Order, disallowing and expunging (a)the Amended Claims, with the surviving

claim in respect of each Amended Claim identified on Exhibit 1 to the Proposed Order under the

header "Remaining Claims" and (b)the Duplicate Claims, with the surviving claim in respect of

each Duplicate Claim identified on Exhibit 2 to the Proposed Order under the header "Remaining

Claims."

                                             BASIS FOR RELIEF

       A.          Applicable Standard for Objecting to Proofs of Claim

        9.         Section 502(a) of the Bankruptcy Code provides that a filed proof of claim is

"deemed allowed, unless a party in interest ...objects." 11 U.S.C. § 502(a). Section 105(a)

provides that a bankruptcy court may "issue any order, process, or judgment that is necessary or

appropriate to carry out the provisions of[the Bankruptcy Code]." 11 U.S.C. § 105(a):




         2        In addition, the Bar Date Order established deadlines for filing claims by (a) any entity whose
claim arises out of the Court approved rejection of an executory contract or unexpired lease, in accordance with
section 365 of the Bankruptcy Code and pursuant to an order ofthe Court and (b)any entity in the event that
a Debtor amends or supplements its Schedules to reduce or reclassify such entity's claim. See Bar Date Order,
at ¶~ 6-7.


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          10.         When asserting a pt•oof of claim against a bankrupt estate, a claimant must allege

facts that, if true, would support a finding that the debtor is legally liable to the claimant. In re

Allegheny Intl, Inc., 954 F.2d 167, 173 (3d Cir. 1992). Where the claimant alleges sufficient

facts to support its claim, its claim is afforded prima facie validity. Id. at 173. A party wishing

to dispute a claim's validity must produce evidence suffdent to negate the claim's prima facie

validity. Id. Once an objecting party produces such evidence, the burden shifts back to the

claltnant to prove the validity of his or her claim by a preponderance ofthe evidence. Id.. at 174.

        B.            Request to Disallow and Expunge the Amended Claims

          11.         As set forth in the Stogsdill Declaration, the Debtors have determined that each of

the Amended Claims has been amended by a subsequently filed proof of claim. A list of the

Amended Claims is set forth. in the column titled "Claims to be Disallowed" on exhibit 1 to the

Pt•oposed Order. In the column titled "Remaining Claims" on Exhibit 1 to the Proposed Order,

the Debtors have identified the claims that the Debtors believe amend the Amended Claims

(collectively, the "Amending Claims") that will remain if the Court grants this Objection.

          12.         The Debtors believe that the applicable claimants will suffer no prejudice ifthe

Amended Claims are disallowed and expunged because the Amending Claims will remain on the

Debtors' register of claims after the corresponding Amended Claims are disallowed and

expunged. To the contrary, disallowing and expunging the Amended Claims will prevent the

claimants holding such claims from receiving a windfall and potential double recovery, to the

detriment of the Debtors' other economic stakeholders. Accordingly, the Debtors request that the

Court disallow and expunge the Amended Claims, subject to the rights of the Debtors or their

successors to assert any further objections on any other grounds, whether substantive or                    ',

non-substantive, to the Amending Claims.



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       C.      Request to Disallow and Expunge Duplicate Claims

        13.        As set forth in the Stogsdill Declaration, the Debtors have determined that each of

the Duplicate Claims has been asserted twice against the same Debtor, in the same amount and

classification. A list of the Duplicate Claims is set forth in the column titled "Claims to be

Disallowed" on Exhibit 2 to the Proposed Order. In the column titled "Remaining Claims" on

Exhibit 2 to the Proposed Order, the Debtors have identified the claims that the Debtors believe

duplicaie the Duplicate C1ai~s (collec~ively, the "I3uplicatin~ Claims" and, together with the

Amending Claims, the "Remaining Claims") that will remain if the Court grants this Objection.

        14.        The Debtors should not be required to satisfy the same obligation twice. See, e.g.,

In re Handy Andy Hoene Improvement Ctrs., Inc., 222 B.R. 571, 575 (Bankr. N.D. Ill. 1998)("it

is axiomatic that one cannot recover for the same debt twice"). Moreover, the.elimination of

Duplicate Claims will enable the Debtors to maintain a claims register that more accurately

reflects the claims asserted against the Debtors.

        15.        Finally, the Debtors believe that the applicable claimants will suffer no prejudice

if the Duplicate Claims are disallowed and expunged because the Duplicating Claims will remain

on the Debtors' register of claims after the corresponding Duplicate Claims are disallowed and

expunged. Indeed, disallowing and expunging the Duplicate Claims will prevent the claimants

holding such claims from receiving a windfall and potential double recovery, to the detriment of

the Debtors' other economic stakeholders. Accordingly, the Debtors request that the Court

disallow and expunge the Duplicate Claims, subject to the rights of the Debtors or their

successors to assert any further objections on any other grounds, whether substantive or

non-substantive, to the Duplicating Claims.




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                            CERTIFICATION UNDER LOCAL RULE 3007-1

          16.         Pursuant to Local Rule 3007-1, the Debtors and their undersigned counsel certify

that this Objection substantially complies with Local Rule 3007-1 except that, in the interests of

clarity, the Debtors have separated out the Amended Claims and Duplicate Claims between

exhibits 1 and 2 to the Proposed Order, respectively. To the limited extent that this Objection

might not comply strictly with any requirement of Local Rule 3007-1 or Bankruptcy Rule 3007,

the Debtors and their counsel respectfully submit that any deviation is immaterial and, on that

basis, request that the Court waive the applicable requirement.

                               RESPONSES TO ORZNIBUS OBJECTIONS

          17.         To contest this Objection, a party must(a) file a written response (a "Response")

with the Office of the Clerk ofthe United States Bankruptcy Court for the District of Delaware at

824 N. Market Street, Wilmington, Delaware 19801, prior to 4:00 p.m.(Eastern Time) on

September 24, 2018 (the "Response Deadline"), and (b) serve such Response upon the following

entities, such that the Response is received no later than the Response Deadline, at the following

addresses (i) counsel to the Debtors, Jones Day,250 Vesey Street, New York, NY 10280, Attn:

Stacey L. Corr-Irvine, Esq.(scorrirvine@jonesday.com), 901 Lakeside Avenue, Cleveland, Ohio

44114, Attn: Carl E. Black, Esq.(ceblack@jonesday.com), 1420 Peachtree Street, N.~.,

Suite 800, Atlanta, GA 30309-3053, Attn: Daniel J. Merrett, Esq.(dmerrett@jonesday.com) and

Pachulski Stang Ziehl &Jones LLP,919 North Market St., 17th Floor, Wilmington, Delaware

19801, Attn: Laura Davis Jones, Esq.(ljones@pszjlaw.com), James E. O'Neill, Esq.

(joneill@pszjlaw.com) and Joseph M. Mulvihill, Esq.(jmulvihill@pszjlaw.com);(ii) the Office

of the United States Trustee for• the District of Delaware, 844 King St., Suite 2207, Wilmington,

Delaware 19801, Attn: Hannah McCollum, Esq.(Hannah.McCollum@usdoj.gov); and



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(iii) counsel to the Committee, Milbank, Tweed, Hadley & McCloy LLP,28 Liberty Street, New

York, NY 10005, Attn: Dennis F. Dunne, Esq.(ddunne@milbanlc.com) and Lauren Doyle, Esq.

(ldoyle@milbank.com) and Cole Schotz P.C., 500 Delaware Avenue, Suite 1410, Wilmington

Delaware 19801, Attn: J. Kate Suckles, Esq.(lcstickles@coleschotz).

        18.        Every Response to this Objection must contain at a minimum the following

information: (a) a caption setting forth the name of the Court, the name of the Debtors, the case

number, and the title oi`the Objection to which the Response is directed;(b)the name of the

claimant, his/her/its claim number, and a description of the basis for the amount ofthe claim;

(c)the specific factual basis and supporting legal argument upon which the party will rely in

opposing the Objection;(d) any supporting documentation, to the extent that it was not included

with the proof of claim previously filed with the clerk or claims agent, upon which the party will

rely to support the basis for and amounts asserted in the t•espective proof of claim; and (e)the

name, address, telephone number, email address, or fax number of the persons)(which may be

the claimant or the claimant's legal representative) with whom counsel for the Debtors should

communicate with respect to the claim or the Response and who possesses authority to reconcile,

settle, or otherwise resolve the objection to the disputed claim on behalf of the claimant.

        19.        If a claimant fails to file and serve a timely Response by the Response Deadline,

the Debtors may present to the Court an appropriate order disallowing and expunging such

claimant's claim in accordance with the relief requested in the Objection and the exhibits hereto,

without further notice to such claimant or a hearing.




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                                         REPLIES TO RESPONSES

         20.          Consistent with Local Rule 9006-1(d), the Debtors may, at their option, file and

serve a reply to any Response one day prior to the deadline for filing the agenda on any hearing

to consider this Objection.

                                   SEPARATE CONTESTED MATTER

         21.          To the extent that a claimant files a response to any objection set forth herein and

the Debtors are unable to resolve the response, each such claim and the objection by the Debtors

to each such claim asserted herein, will constitute a separate contested matter as contemplated by

Bankruptcy Rule 9014. Any order the Court enters that addresses any individual objection

asserted in this Objection will be deemed a separate order with respect to each affected claim.

                                        RESERVATION OF RIGHTS

         22.          To the fullest extent permissible under Bankruptcy Rule 3007 and Local

Rule 3007-1, the Debtors reserve the right to object further to each ofthe Amended Claims,

Duplicate Claims and Remaining Claims on any and all additional factual and legal grounds.

Nothing construed in this Objection and/or the exhibits hereto shall be construed as an admission

of the amount, priority and/or status of any claim.

                                                    NOTICE

          23.         Notice of this Objection shall be given to (a) the Office of the United States

Trustee for the District of Delaware;(b)the Committee and its counsel Milbank, Tweed, Hadley

& McCoy LLP and Cole Scl~otz P.C.; and (c) the holders of the Amended Claims and Duplicate

Claims and their counsel, if known. The Debtors submit that no other or further notice need be

provided.




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        WHEREFORE,the Debtors respectfully request that the Court enter the Proposed Order

and grant such other and further relief as may be appropriate.

 Dated: September 10, 2018                         PACHULSKI STANG ZIEHL &JONES LLP


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                                                   Co-Counselfor^ the Debtors
                                                   and DebtoNs in Possession




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